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September 23, 2019

Honorable Margo K. Brodie
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

     Re: Community Housing Improvement Program, et al. v. City of New York, et al., 19-cv-4087

Dear Judge Brodie:

        We write regarding our September 20, 2019 letter (Dkt. 34) to clarify the extent of Plaintiffs’
consent to intervention. Plaintiffs do not consent to any intervention as of right under Federal Rule of
Civil Procedure 24(a). Plaintiffs do, however, consent to the permissive intervention of the Coalition for
the Homeless (Coalition), N.Y. Tenants and Neighbors (T&N), and Community Voices Heard (CVH)
under Federal Rule of Civil Procedure 24(b) on the understanding that the Coalition, T&N, and CVH
will make all filings jointly on the same schedule as Defendants.
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                                        Respectfully submitted,


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                                        Faith Gay
                                        Caitlin Halligan
                                        Sean Baldwin
                                        Selendy & Gay PLLC
                                        1290 Avenue of the Americas
                                        New York, NY 10104
                                        (212) 390-9001
                                        fgay@selendygay.com
                                        challigan@selendygay.com
                                        sbaldwin@selendygay.com

                                        Edward Josephson
                                        Director of Litigation
                                        Legal Services NYC
                                        105 Court Street, 4th floor
                                        Brooklyn, NY 11201
                                        (718) 237-5538
                                        ejosephson@lsnyc.org

                                        Judith Goldiner
                                        Attorney in Charge
                                        Civil Law Reform Unit
                                        Ellen Davidson, of counsel
                                        The Legal Aid Society
                                        199 Water St., 3rd Floor
                                        New York, N.Y. 10038
                                        (212) 577-3332
                                        JGoldiner@legal-aid.org
